           Case 1:19-cv-11496-PBS Document 40 Filed 08/29/19 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

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                                        )
JONATHAN MULLANE,                       )               DOCKET NO. 1:19-CV-11496-PBS-JGD
                                        )
      Plaintiff,                        )
V.                                      )                                                      --..J

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PORTFOLIO MEDIA, INC.                   )               Removed from Suffolk Couq~:                    ar-
and AARON LEIBOWITZ,                    )               Superior Court          ~:'.:! w               m
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                                        )               Docket No. 1984-CV-01774-t::!!                 ~r=
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            Defendants.                 )                                            -n-t              oc::i
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                        STIPULATED MOTION FOR CM/ECF ACCESS


       COMES NOW Plaintiff Jonathan Mullane (hereinafter, "Plaintiff''), and respectfully

moves this Honorable Court for access to the CM/ECF platform and filing system. In support

hereof, Plaintiff states that all Parties have assented to the instant request.

       WHEREFORE, Plaintiff prays for the relief requested herein, supra.



DATED:             This 27th Day of August, 2019        Respectfully submitted,



                                                                 HAN MULLANE,
                                                                 (prose)
                                                                 e Street, Unit #1
                                                        Somerville, MA 02145
                                                        Tel.: (617) 800-6925
                                                        j.mullane@icloud.com
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                             L.R. 7.l(a)(2) CERTIFICATION

      Pursuant to L.R. 7.l(a)(2), Plaintiff hereby certifies that he conferred with counsel for
Defendants via email correspondence, who assent to the relief requested herein.



                                                           HAN MULLANE,
                                                           (prose)




                               CERTIFICATE OF SERVICE

I, JONATHAN MULLANE, hereby certify that on August 27, 2019 I served copies of the
foregoing STIPULATED MOTION FOR CM/ECF ACCESS via first class mail, postage prepaid,
to counsel for Defendants as specified below:

       Rebecca M. Lecaroz, Esq.
       Brown Rudnick LLP
       One Financial Center
       Boston, MA 02111
       (617) 856-8200
       rlecaroz@brownrudnick.com

                                                  JONtJTHAN MULLANE,
                                                  Plai iff ~rose)
                                                  60 C d Street, Unit #1
                                                  Somerville, MA 02145
                                                  Tel.: (617) 800-6925
                                                  j.mullane@icloud.com




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